      FOSS
  DECLARATION
    EXHIBIT 9




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                                                                              O NE GATEWAY CENTER
                                                                              NEWARK , NJ 07102
                                                                              (973) 848-1244

                                                                              K ELLY J ONES HOWELL
 VIA ECF
                                                                              DIRECT:  (212) 912-3652
                                                                              F AX :   (212) 687-0659
 Honorable Michael A. Shipp                                                   KHOWELL @HARRISBEACH . COM

 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Federal Building & U.S. Courthouse
 402 East State Street
 Trenton, New Jersey 08608

        Re:     NewMarket Pharmaceuticals, LLC v. VetPharm, Inc., et al.,
                Civil Action No. 3:17-cv-01852-MAS-TJB

 Dear Judge Shipp:

       We submit this letter in response to opposing counsel’s letter filed yesterday
 (ECF Doc. No. 110), which appears to request that the Court recall the parties’
 dispute from arbitration before the American Arbitration Association (“AAA”),
 where it is currently pending, and refer it to Magistrate Judge Bongiovanni for
 adjudication.

         Mr. Pisano, the signatory of the NewMarket’s letter, has apparently been
 misinformed concerning VetPharm’s position. Contrary to the assertion in his
 letter, VetPharm does not intend to “terminate the arbitration.” Rather, VetPharm
 has made it clear—both to AAA and to NewMarket—that it intends to participate
 in the arbitration and to seek a final award disposing of NewMarket’s claim.

        It is NewMarket that has attempted to frustrate the arbitration by refusing in
 advance to pay its share of the arbitration fees. AAA’s Commercial Arbitration
 Rules, which govern the parties’ dispute, expressly provide that one remedy for a
 claimant’s nonpayment is an order “limiting a party’s ability to assert or pursue
 [its] claim.” R-57(b). Such a remedy would allow VetPharm to obtain a final,
 confirmable arbitration award in its favor that disposes of NewMarket’s damages
 claim with prejudice.1 Under AAA’s rules, NewMarket would retain the ability to
 fully defend against VetPharm’s counterclaim.



    1
        If the arbitrator agrees with VetPharm’s request, the result would be a final adjudication
 on the merits—unlike in Tillman v. Tillman, 825 F.3d 1069 (9th Cir. 2016), where the arbitrator
 merely suspended the arbitration without issuing any award or judgment.



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        Whether such a measure will be appropriate in these circumstances is solely
 a question for the arbitrator to decide, if and when the question is presented for his
 decision. Until then, the conduct of the arbitration should be left to AAA and the
 parties’ chosen arbitrator. VetPharm respectfully requests that the Court direct
 NewMarket and its counsel to desist from making serial applications to this Court
 on matters related to the arbitration. (See ECF Nos. 103, 107, 110.)

       We thank the Court for its attention to this matter.

                                               Respectfully submitted,

                                               HARRIS BEACH PLLC

                                               /s/ Kelly Jones Howell

                                               By: Kelly Jones Howell

 Copies: All counsel of record (via ECF)




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